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11   UNITED STATES OF AMERICA, et al.
12                            UNITED STATES DISTRICT COURT
13                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
14                                 WESTERN DIVISION
15 PAUL SNITKO, JENNIFER SNIKO,                Case No. 2:21-cv-04405-RGK-MAR
   JOSEPH RUIZ, TYLER GOTHIER,
16 JENI VERDON-PEARSONS,                       DECLARATION OF FEDERAL
   MICHAEL STORC, and TRAVIS                   BUREAU OF INVESTIGATION
17 MAY,                                        SPECIAL AGENT MADISON
                                               MACDONALD IN OPPOSITION TO
18              Plaintiffs,                    PLAINTIFFS’ MOTION TO COMPEL
                                               DISCOVERY RESPONSES AND
19                     v.                      ENTER PROTECTIVE ORDER
20 UNITED STATES OF AMERICA. ET                (Filed Concurrently with Plaintiffs’ Notice
   AL.,                                        of Motion to Compel; Parties’ Rule 37-2
21                                             Joint Stipulation; Proposed Protective
            Defendants.                        Order; and Proposed Order)
22
                                               [DISCOVERY MATTER]
23
                                               Date:                  March 30, 2022
24                                             Time:                 10:00 a.m.
                                               Courtroom:             790, the Honorable
25                                                                    Margo A. Rocconi
                                               Discovery Cutoff date:       None set
26                                             Pre-Trial Conference date: None set
                                               Trial Date:                  July 26, 2022
27                                             Complaint/FAC Filed: 5/27/21 and 6/9/21
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1          I, Madison MacDonald, declare:
2          1.     I am a Special Agent with the Federal Bureau of Investigation (“FBI”) and
3    have been so employed since 2018. I personally participated in the inventorying of the
4    contents of the safety deposit boxes at U.S. Private Vaults (“USPV”), and am also
5    personally familiar with and have access to Sentinel, which is discussed below, through
6    my duties and responsibilities as a Special Agent.
7          2.     When the FBI returned property to boxholders that retrieved their property
8    during their appointments to do so at the FBI, those boxholders were given a FBI
9    Receipt for Property. I have reviewed Exhibit L, page 108 attached to the Declaration of
10   Robert Frommer, and that is a FBI Receipt for Property provided by the FBI reflecting
11   the items that were returned, regarding Linda R.’s box, at the FBI.
12         3.     During the inventorying of the contents of the safe deposit boxes, officers
13   found drugs (such as fentanyl and OxyContin), firearms including a Glock, and in the
14   planning leading up to the search at USPV considered they might also find explosives.
15         4.     In addition, during the inventorying of the contents of the boxes and
16   videotaping of the process, officers sometimes found information about third parties that
17   did not appear to be the owners of the box. For example, officers sometimes found an
18   Executor/Conservator Notification letter, a redacted sample of which is attached hereto
19   as Exhibit A, which provides a section for the box owner to set forth the residence
20   address of the Executor, a different person, whom (according to the document) the
21   boxholder authorized USPV to contact in the event of the boxholder’s death or mental
22   incompetence. Officers found in one box copies of over 25 passports, none of which
23   were in the name of the boxholder, and those copies contained pictures of the passport
24   holders, their dates of birth, places of birth, and the issuance and expiration dates for the
25   passports.
26         5.     The inventories created during the inventory search at USPV were inputted
27   and are maintained into the FBI’s electronic case management system, Sentinel. FBI
28   personnel who participated in the March 2021 inventory search of USPV would generate
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1    inventory lists, photographs, videos, chains of custody, and other documentation that
2    memorialized what items of property were contained in each separate safe deposit box.
3    Those records in turn are searchable and retrievable in the Sentinel system as described
4    more fully below.
5          6.     Sentinel enables the FBI to maintain information that is acquired in the
6    course of fulfilling its mandated law enforcement responsibilities. The records in
7    Sentinel include, but are not limited to, investigative and administrative documents that
8    are compiled for law enforcement purposes. Upon approval, the Sentinel system
9    serializes and uploads the documents into the Sentinel repositories, where the documents
10   will become part of the official FBI case file. Sentinel provides web-based access for all
11   authorized users and an improved search and indexing capability, yielding access to all
12   relevant data to which the user is permitted access. Sentinel documents and manages
13   cases from inception to closure.
14         7.     In any given case, and specifically in the warrant execution at USPV in
15   March 2021, Sentinel may include numerous types of information that could either
16   directly identify an individual (such as name, address, Social Security number, telephone
17   number, e-mail address, photograph, or other unique identifying number, code, or
18   characteristic) or that will indirectly identify an individual (such as gender, race, date of
19   birth, place of birth, geographic indicator, license number, vehicle identifier including
20   license plate, and other descriptors). Other information about individuals that may be in
21   Sentinel includes financial account numbers. Information may be about U.S citizens,
22   legal permanent residents, or foreign nationals. Information may also be about living or
23   deceased individuals. Some information may be about minors. Some of these categories
24   of information are contained in Sentinel about USPV boxholders. Regarding the
25   inventories of USPV boxes in Sentinel, these records contain only the identifying
26   information physically housed inside each respective box or provided to the FBI by the
27   boxholder himself or herself. The USPV Sentinel records probably do not contain all of
28   the categories of information listed above for each box.
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1          8.     Once records are inputted into Sentinel, those records can be retrieved by
2    authorized users. The FBI can determine what retrievable information, if any, it may
3    have in its files on a particular subject matter or individual, by searching Sentinel. In the
4    instant matter, users can retrieve Sentinel-housed records about USPV boxholders by the
5    identifiers which are most likely present, usually of the boxholder’s name and/or box
6    number.
7          9.     All users with direct access to Sentinel data are responsible for protecting
8    the privacy interest of individuals consistent with law enforcement business practice,
9    including protection of government employees’ and contractors’ information.
10         I declare under penalty of perjury under the laws of the United States that the
11   foregoing is true and correct.
12         Executed on March 7, 2022 at Los Angeles, California.
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                                                       MADISON MacDONALD
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